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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )    No. 4:04CR00147 GH
                                           )
JAVIER RUIZ-MORENO                         )

                                Motion to Dismiss Indictment

      The United States moves to dismiss the Fifth Superseding Indictment as it pertains to

Defendant Javier Ruiz-Moreno.


                                           Respectfully Submitted,
                                           BUD CUMMINS
                                           United States Attorney

                                           __/s/ Joe J. Volpe________________
                                           By Joe J. Volpe
                                           Assistant U.S. Attorney
                                           P.O. Box 1229
                                           Little Rock, AR 72203
                                           501-340-2600



                                           ORDER

      The Court hereby dismisses the pending Fifth Superseding Indictment against

Defendant Javier Ruiz-Moreno.

      So Ordered this 4th Day of April, 2006.


                                                          ______________________________
                                                          George Howard, Jr.
                                                          United States District Judge
